                                                                                                   CT Corporation
                                                                                    Service of Process Notification
                                                                                                              07/08/2022
                                                                                                 CT Log Number 541885891


Service of Process Transmittal Summary

TO:      Kathleen Sturgeon
         MARKEL
         10275 W HIGGINS RD STE 750
         ROSEMONT, IL 60018-5625

RE:      Process Served in Wisconsin

FOR:     Markel Insurance Company (Domestic State: IL)



ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                       2U4U BEAUTY SUPPLY, LLC vs. Markel Insurance Company

DOCUMENT(S) SERVED:                    Summons, Complaint, Interrogatories And Request, Notice

COURT/AGENCY:                          Kenosha County Circuit Court, WI
                                       Case # 2022CV000690
NATURE OF ACTION:                      Insurance Litigation

PROCESS SERVED ON:                     C T Corporation System, Madison, WI

DATE/METHOD OF SERVICE:                By Process Server on 07/08/2022 at 12:35

JURISDICTION SERVED:                   Wisconsin

APPEARANCE OR ANSWER DUE:              Within 45 days of receiving this summons

ATTORNEY(S)/SENDER(S):                 Ryan R. Graff
                                       MAYER, GRAFF & WALLACE LLP
                                       1425 Memorial Drive, Suite B
                                       Manitowoc, WI 54220
                                       (920) 683-5800
ACTION ITEMS:                          SOP Papers with Transmittal, via UPS Next Day Air , 1ZX212780120754982

                                       Image SOP
                                       Email Notification, Kathleen Sturgeon legalregulatory@markel.com

                                       Email Notification, LAURIE FORD laurie.ford@markel.com

                                       Email Notification, Heather Stenmark Heather.Stenmark@markel.com

REGISTERED AGENT CONTACT:              C T Corporation System
                                       301 S. Bedford Street
                                       Suite 1
                                       Madison, WI 53703
                                       866-401-8252
                                       EastTeam2@wolterskluwer.com




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and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
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disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
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                                                                                       07-05-2022
                                                                                       Clerk of Circuit Court
                                                                                       Kenosha County
STATE OF WISCONSIN             CIRCUIT COURT            KENOSHA COUNTY                 2022CV000690
                                                                                       Honorable David Wilk
2U4U BEAUTY SUPPLY, LLC                                                                Branch 5
5829 6th Avenue
Kenosha, WI 53140

                                           Plaintiff,

                                                                     Case No. 22-CV-
MARKEL INSURANCE COMPANY                                             Case Code 30303
10275 W Higgins Road, Suite 750
Rosemont, IL 60018                                                      PROCESS SERV
                                                                        Timre           DATE
                                                                        ()PERSONAL     ()SUBS
                                           Defendant.                   ()POSTED       ()CORPORAFB




                                             SUMMONS


          THE STATE OF WISCONSIN, to the above named defendant:

          You are hereby notified that the plaintiff named above has filed a lawsuit or other legal

action against you. The complaint, which is attached, states the nature and basis of the legal

action.

          Within forty-five (45) days of receiving this summons, you must respond with a written

answer, as that term is used in Chapter 802 of the Wisconsin Statutes, to the complaint. The

Court may reject or disregard an answer that does not follow the requirements of the statutes. The

answer must be sent or delivered to the Court, whose address is Kenosha County Courthouse, 912

56th Street, Kenosha, WI 53140 AND to Mayer, Graff & Wallace LLP, plaintiff's attorneys, whose

address is 1425 Memorial Drive, Suite B, Manitowoc, Wisconsin 54220. You may have an

attorney help or represent you. If you do not provide a proper answer within forty-five (45) days,

the Court may grant judgment against you for the award of money or other legal action requested

in the complaint, and you may lose your right to object to anything that is or may be incorrect in




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the complaint. A judgment may be enforced as provided by law. A judgment awarding money

may become a lien against any real estate you own now or in the future, and may also be enforced

by garnishment or seizure of property.

               Dated this 5th day of July, 2022.

                                      MAYER, GRAFF & WALLACE LLP

                                             /s/ Ryan R. Graff

                                      By:
                                              Ryan R. Graff
                                              State Bar No. 1051307
                                              Attorneys for Plaintiff 2U4U Beauty Supply, LLC
 Mailing Address
 1425 Memorial Drive, Suite B
 Manitowoc, WI 54220
(920)683-5800 Telephone
(800)465-1031 Facsimile
 rgraff@rngwlawwi.com




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                                                                                     Clerk of Circuit Court
                                                                                     Kenosha County
STATE OF WISCONSIN             CIRCUIT COURT           KENOSHA COUNTY                2022CV000690
                                                                                     Honorable David Wilk
2U4U BEAUTY SUPPLY, LLC                                                              Branch 5

5829 6th Avenue
Kenosha, WI 53140

                                          Plaintiff,

                                                                   Case No. 22-CV-




[
MARKEL INSURANCE COMPANY                                           Case Code 30303
10275 W Higgins Road, Suite 750
Rosemont, IL 60018

                                          Defendant.


                                           COMPLAINT


       NOW COMES Plaintiff 2U4U Beauty Supply, LLC ("Plaintiff") by and through its

attorneys Mayer, Graff & Wallace LLP, and as for a Complaint against the Defendant, Markel

Insurance Company,states as follows:

                                             PARTIES

        1.     Plaintiff 2U4U Beauty Supply LLC ("Plaintiff') is a Wisconsin limited liability

company with an address of 5829 6th Avenue, Kenosha, WI 53140.

       2.      Defendant Markel Insurance Company ("Markel") is a foreign insurance company

licensed to do business in the State of Wisconsin with a statutory home office located at 10275 W.

Higgins Road, Suite 750, Rosemont,IL 60018.

                                    TURISDICATION AND VENUE

       3.      This court has Jurisdiction over this matter as this action centers around an

insurance claim regarding real property located in this state.




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       4.      Venue is proper in Kenosha County as this action centers around an insurance

claim related to real property located in this County.

                                   FACTUAL ALLEGATIONS

             THE PLAINTIFF'S PROPERTY IS DAMAGED BY A COVERED LOSS

       5.       Plaintiff owns and operates a beauty supply business (the "Business").

       6.      The Business operated out of leased space in a commercial building located at 6223

22nd Ave., Kenosha, WI 53140(the "Property") until August 12, 2020.

       7.      At all material times the Business was insured through Markel via Policy Number

BOM0014278-01 (the "Policy").

       8.      On August 12, 2020, the Property was destroyed by a fire that started due to

another tenant's negligence in the other tenant's leased space in the Property.

       9.      As a result, the Business suffered a complete loss of all inventory and equipment

and could not operate (the "Loss").

       10.     Markel has never disputed that fire damage is a covered loss under the Policy.

             MARKEL DOES NOT PROVIDE COVERAGE UNDER THE POLICY

       11.      Plaintiff provided Markel a sworn Proof of Loss regarding its destroyed Business

Personal Property("BPP") dated March 9, 2021 (the "BPP POL").

       12.      The BPP POL established that Plaintiff had lost $88,490.30 in BPP.

       13.     However, the limit of insurance for BPP is $75,000 under the Policy, so that was

the amount Plaintiff claimed in the BPP POL.

       14.     Plaintiff provided a sworn Proof of Loss for "Newly Acquired Business Personal

Property"("NABPP")dated March 9, 2021.




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        15.    Plaintiff claimed $16,221.60 in NABPP, well below the Policy limit of $100,000.

        16.    Plaintiff also provided Markel a sworn Proof of Loss relating to its Business Income

and Extra Expense Loss dated February 18, 2021 (the "BI POL").

        17.    Plaintiff claimed $30,663.00 in the BI POL.

        18.    All the amounts claimed by Plaintiff are covered losses under the Policy.

        19.    Markel demanded that Plaintiff submit to an examination under oath ("EUO")

regarding the loss.

       20.      Plaintiff was subjected to the EU0 on June 17, 2021.

       21.      Plaintiff has provided extensive documentation of the amounts claimed in the

Proofs of Loss to Markel, as she hired a public adjuster to assist her in the claims process.

       22.     Plaintiff also hired an accountant who provided financial information to Markel.

       23.     Yet, Markel has paid Plaintiff nothing.

       24.     Despite- many demands for same, Markel has provided no correspondence

explaining why the amounts claimed are not being paid.

       25.     Markel made a promise in late November of 2021 to pay "undisputed amounts."

       26.     In January of 2021 counsel for Markel stated that Plaintiff would be paid $75,000.

       27.     As such, Markel agrees that Plaintiff is owed at least $75,000.

       28.     On January 25, 2022, Markel paid $75,000 for the BPP but paid nothing for

business income or NABPP.

       29.     Markel has provided no explanation for the delay in paying the $75,000 it said was

undisputed in November.




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        30.     Markel has provided no explanation whosoever why it is not paying other amounts

claimed despite many demands for same.

        31.     There is no basis for Markel to withhold payment for the amounts claimed as they

are covered by the Policy.

                     FIRST CAUSE OF ACTION:BREACH OF CON 1RACT

        32.     Plaintiff and Markel are parties to the Policy—a contract for insurance.

        33.     At all relevant times, Plaintiff fully paid, or attempted to pay all premiums of

insurance.

        34.     The Loss was an insured loss under the Policy.

        35.     Plaintiff should be afforded coverage for the Loss under the Policy as they have

made every attempt to live up to their obligations under the Policy, and the Loss is a covered event.

        36.     Markel has refused to provide coverage under the Policy for the Loss.

        37.     As such, Markel has breached its duties under the Policy.

        38.     Further, Markel delayed payment of the $75,000 without reason or explanation.

        39.     As such, Markel has breached the insurance contract and Plaintiff has suffered

damages in an amount to be determined at trial.

                          SECOND CAUSE OF ACTION: BAD FAITH

        40.     Plaintiff repeats and re-alleges all the allegations contained in the above paragraphs

as if set forth in full herein and further alleges as follows:

        41.     By virtue of the policy and Wisconsin law, Markel owed certain express and

implied duties and obligations to Plaintiff, including, but not limited to:

                a.      A duty of good faith and fair dealing;




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               b.         A duty to act in the insureds' best interest;

               c.         A duty to promptly acknowledge communications with respect to claims;

               d.         A duty to promptly perform claim investigation services;

               e.         A duty to attempt in good faith to effectuate a fair and equitable settlement

       of claims;

               f.         A duty to provide prompt and reasonable explanation of the basis in the

       policy or applicable law for any delay and/or denial of benefits;

               g.         A duty to refrain from requiring its insured to initiate a lawsuit to recover

       amounts due and owing under the policy;

               h.         A duty to promptly pay an irrefutable loss in a timely fashion;

               i.         A duty to properly represent the terms and conditions of the policy; and

               j.         A duty to honor express and oral commitments to the insured, including,

       but not limited to, payment for covered losses and the like.

       42.     Markel, through the acts and omissions of its employees and representatives, has

breached the implied covenant of good faith and fair dealing by, among other things,

intentionally, wantonly, willfully or with reckless disregard for Plaintiffs rights, refusing to pay

amounts in accordance with the insurance policy in a timely fashion and in the absence of a

reasonable basis for not paying said amounts, and it has failed to proceed in a manner that is

honest and informed, despite reasonable efforts, cooperation, and compliance by Plaintiff, thus

constituting bad faith.




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                     THIRD CAUSE OF ACTION: STATUTORY INTEREST

       43.        Plaintiff repeats and re-alleges all of the allegations contained in the above

paragraphs as if set forth in full herein and further alleges as follows:

       44.        Wis. Stat. § 628.46 requires every insurer, including Markel, to promptly pay every

insurance claim. A claim is overdue if not paid within 30 days after the insurer has received

written notice of the fact of a covered loss and the amount of the loss.

       45.        Markel was furnished written notice of a covered loss and amount of the loss.

       46.        To the extent any portion of the claim is overdue, Plaintiff is entitled to 7.5 percent

interest on those amounts.

       'WHEREFORE, Plaintiff demands judgment against Markel as follows:

       A.         For compensatory damages in the amount of necessary repair costs for damage to

the Property, as well as all other damages arising out of the loss, as a result of Markel's breach of

contract and bad faith;

       B.         For payment of all other contractual benefits owing under the insurance policy;

       C.         For interest on any unpaid portion of the claim that is overdue, pursuant to Wis.

Stat. § 628.46;

          D.      For litigation and investigation costs, including actual attorney fees;

       E.         For punitive damages; and

        F.        For all other statutory or taxable costs, or other relief the Court deems just and

proper.

                   PLAINTIFF DEMANDS A TRIAL BY JURY OF 12 PERSONS




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              Dated this 5th day of July, 2022.

                                     MAYER, GRAFF (SI. WALLACE LLP

                                            /s/ Ryan R. Graff

                                     By:
                                             Ryan R. Graff
                                             State Bar No. 1051307
                                             Attorneys for Plaintiff 2U4U Beauty Supply, LLC
 Mailing Address
 1425 Memorial Drive, Suite B
 Manitowoc, WI 54220
(920)683-5800 Telephone
(800)465-1031 Facsimile
 rgraff@mgwlawwi.com




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STATE OF WISCONSIN             CIRCUIT COURT             KENOSHA COUNTY

2U4U BEAUTY SUPPLY, LLC

                                           Plaintiff,
V
                                                                        Case No. 22-CV-79
MARKEL INSURANCE COMPANY                                                Case Code 30303

                                          Defendant.


PLAINTIFF'S FIRST SET OF INTERROGATORIES AND REQUEST FOR PRODUCTION
       OF DOCUMENTS TO DEFENDANT MARKEL INSURANCE COMPANY


       Plaintiff 2U4U Beauty Supply, LLC by its attorneys, Mayer, Graff & Wallace LLP, requests

Defendant Markel Insurance Company respond to the following interrogatories and requests for

production within thirty (30) days of the time service is made upon you and in accordance with

Wis. Stats. §§ 804.08 and 804.09:

                                       INTERROGATORIES

        1.     State the name, title, employer and address of employment of each and every

person providing answers or information responsive to these interrogatories and requests for

production.

       2.      State whether you have taken any written or recorded statements of any person

with regard to the loss at issue or any event pre-dating the loss at issue and relating to the plaintiff.

If so, identify the individual whose statement was taken by name, address and telephone number,

the individual who took the statement, the date it was taken, and the present custodian of the

statement.




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       3.      Identify the name and title of each employee, representative, or agent of Markel

Insurance Company who was, at any stage of the claim described in the complaint, responsible for

investigating, appraising, or evaluating said claim or determining whether coverage was afforded or

excluded for the claim at issue.

       4.      Do you contend that the plaintiff has deceived or committed a fraud with respect

to any aspect of its submission of the claim at issue? If so, specify each and every basis upon which

you rely for said contention and identify each writing or document by date, author, and content

and the name and address of each witness who will testify in support of said contention.

       5.      Do you contend that the plaintiff has misrepresented any material fact concerning

the loss or claim at issue? If so, specify each and every basis in law or in fact upon which you rely

for said contention, and identify all information and witnesses upon whom you rely in support of

said contention.

       6.      If you contend that the plaintiff has violated any duties or obligations owed by

them under the applicable policy of insurance in this matter, describe each and every duty or

obligation violated, the basis for the alleged violation, and identify each page, section, or clause of

the policy that supports the alleged violation.

                     REQUESTS FOR PRODUCTION OF DOCUMENTS

        1.     Produce copies of accurate and legible forms or applications for insurance

completed by the plaintiff for the insurance coverage in dispute.

       2.      Produce copies of any correspondence, memorandums or emails generated or

issued by any employee, agent or representative of the defendant to anyone for any purpose related

to the claim at issue and made before the commencement of this litigation.




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         3.       Produce copies of any recorded communications and telephone records by or to

any employee, agent or representative of the defendant for any purpose related to the claim at issue

or the events leading up to the claim at issue.

         4.       Produce copies of any reports, memorandums, letters, correspondence or any other

document upon which the defendant bases its denial on the portion of the claim at issue alleged in

the complaint.

         5.       Produce copies of any pictorial evidence, photographs, videotapes or other visual

evidence of any sort pertaining to any item of personal property or real property damage for the

claim at issue.

         6.       Produce copies of any documents reviewed or relied upon in responding to any of

the above interrogatories.

         7.       Produce copies of any recorded communications, phone calls or emails to or from

the plaintiff or the plaintiff's agents or representatives, at any time, with respect to the claim at

issue.

         8.       Produce a complete copy of Markel Insurance Company's underwriting file,

including, but not limited to, applications, property evaluations, estimates, forms, methods, or

processes used to undertake the property evaluation, and correspondence.

         9.       Produce copies of any written or electronic correspondence to or from the plaintiff,

or any of their representatives, at any time.

         10.      Produce a copy of the claims log or notes that were generated by any employee,

representative or agent of the defendant with respect to the claim at issue from the date of loss

until the commencement of this litigation.




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         11.    Produce a certified copy of the policy or policies of insurance that may provide

coverage for the claim described in the complaint.

         12.    Produce copies of any photographs or videos related to the plaintiff or their

 property taken prior to or after the date of loss, whether electronic or pictorial.

         13.    Produce a copy of Markel Insurance Company's claims manual in effect at the time

of this loss for handling first-party losses.

        14.     Produce copies of any estimates, valuations or reports undertaken or obtained with

respect to the claim at issue, and any communications regarding said estimates, valuations or

reports.

         15.    Produce copies of all written or electronic communications related to any reports

received by the defendant from any expert or consultant hired to investigate the claim at issue.

        16.     Produce Markel Insurance Company's claims file, including all electronic

communications, for the claim at issue in this matter.

                Dated this 6th day of July, 2022.

                                          MAYER, GRAFF & WALLACE LLP

                                                /s/ Ryan R. Graff

                                         By:
                                                Ryan R. Graff
                                                State Bar No. 1051307
                                                Attorneys for Plaintiff 2U4U Beauty Supply, LLC
 Mailing Address
 1425 Memorial Drive, Suite B
 Manitowoc, WI 54220
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STATE OF WISCONSIN                                            CIRCUIT COURT
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2U4U Beauty Supply, LLC vs. Markel Insurance Company                                       Electronic Filing                         Kenosha County
                                                                                                Notice
                                                                                                                                     2022CV000690
                                                   Case No. 2022CV000690                                                             Honorable David Wilk
                                                   Class Code: Other-Contract                                                        Branch 5




                                MARKEL INSURANCE COMPANY
                                SUITE 750
                                10275W. HIGGINS ROAD
                                ROSEMONT IL 60018




                Case number 2022CV000690 was electronically filed with/converted by th.2,Kenosha               unty
                Circuit Court office. The electronic filing system is designed to allow for fast,!
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                of documents in court cases.
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                http://efiling.wicourts.gov/ an5I may withdraw.as an electronic party at any time. There is a
                $20.00 fee to register as an pl.pctrOnic 4rty. Tills fee may be waived if you file a Petition for
                Waiver of Fees and Costs Affidavit•cif Indigencyl(CV-410A)and the court finds you are
                indigent under §814.29,-Wisconsin Statutes-.
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                      )  )
                Unle,ss,you register as an electronic party, you will be served with traditional paper documents
                by other parties and by the court. You must file and serve traditional paper documents.

                Registration is available to attorneys, self-represented individuals, and filing agents who are
                authorized under Wis. Stat. 799.06(2). A user must register as an individual, not as a law firm,
                agency, corporation, or other group. Non-attorney individuals representing the interests of a
                business, such as garnishees, must file by traditional means or through an attorney or filing
                agent. More information about who may participate in electronic filing is found on the court
                website.

                If you have questions regarding this notice, please contact the Clerk of Circuit Court at
                262-653-2664.

                                                                                    Kenosha County Circuit Court
                                                                                    Date: July 6, 2022




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GF-180(CCAP), 11/2020 Electronic Filing Notice                                            §801.18(5)(d), Wisconsin Statutes
                                                 This form shall not be modified. It may be supplemented with additional material.
